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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


BRIAN JACOBSON, et al,                        *

                                Plaintiffs.   *
                                                      Case No. 1:15-cv-00764(APM)
       v.                                     *

INSUN HOFGARD, et al.                         *

                                Defendants.   *

*      *        *       *       *       *     *       *      *       *       *         *    *


                                    JOINT STATUS REPORT

       This Joint Status Report is filed jointly by all parties pursuant to the Court’s Minute

Order dated March 16, 2017, which Order referred the case to Magistrate Judge Kay for

mediation.

    1. The Parties to this case are currently the Plaintiffs, the Hofgard Defendants (Mr. and Mrs.

       Jefferson and Insun Hofgard) and two third-party defendants, Mr. Edcel Argueta and

       DMV Construction Services, Inc., a dissolved D.C. corporation (“DMV/Argueta”).

    2. The parties engaged in a settlement conference before Judge Kay on April 24, 2017. The

       parties were not able to reach a settlement, but negotiations are continuing.

    3. In the meantime, the parties have agreed to schedule the following depositions:

             a. The deposition of Fact witness, Julio Argueta, will be noted for May 16, pending

                service on the witness;

             b. The deposition of Third Party Defendant Edcel Argueta, will be noted for May

                18, 2017;




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           c. The deposition of Plaintiffs’ designated expert, Andrew Deshler of Classic

               Craftsmen, Inc. (or as otherwise identified by Plaintiffs), will be noted on or

               before June 10, 2017; and

           d. The deposition of Defendant’s designated expert, Chris Havens of Minkoff

               Company, will be noted on or before June 10, 2017.

   4. The parties do not anticipate any other discovery.

   5. The parties request that the Court set a Dispositive Motions Deadline for July 15, 2017,

       and pretrial and trial dates in due course thereafter.

Respectfully submitted,

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